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516-374-2118
Attorneys for Defendants
                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
                                           :
 EXPRESS FREIGHT SYSTEMS INC., :                  Case: 2:19-cv-12001-SDW-LDW
                                           :
                                Plaintiff, :
                                     :
                 - against -
                                     :
                                     :
 YMB ENTERPRISES INC., JOEL          :
 MENDLOVIC, JOHN DOES 1-10 and :
 ABC CORPS. 1-10 (said names being   :
 fictitious),                        :
                                     :
                         Defendants. :

                               NOTICE OF MOTION

      PLEASE TAKE NOTICE upon the annexed Brief in Support of

Defendants’ Motion, attorney affirmation affirmed by the undersigned, affirmation

by Joel Mendlovic, and a proposed order, and the full record of this case to date,

counsel Lawrence Katz, Esq., of Law Offices of Lawrence Katz, moves on behalf

of YMB ENTERPRISES INC. and JOEL MENDLOVIC before the Honorable

Judge Susan D. Wigenton at the United States District Court for New Jersey, room

5C of the Martin Luther King Building at 50 Walnut Street, Newark, NJ 07101 for

an order granting:
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      1.     Dismissal of the complaint pursuant to FRCP 12(b)(1)-(2) for the

 absence of jurisdiction;

      2.     Dismissal of the complaint pursuant to FRCP 12(b) (5) for the failure

 to serve;

      3.     For such other and further relief as the Court deems appropriate under

 the circumstances in favor of this motion, including granting alternative relief

 pursuant to FRCP to 12(b)(3) to transfer this case to the venue where Defendants

 are domiciled (either the Eastern District of New York or to the Supreme Court of

 New York, County of Kings).

      Dated:        Valley Stream, NY
                    July 26, 2019

                                               Law Offices of Lawrence Katz

                                               / s / Lawrence Katz
                                               __________________________
                                               By: Lawrence Katz

                                               70 East Sunrise Highway, Suite 500
                                               Valley Stream, NY 11581

                                               Attorneys for Defendants
Via ECF to all Counsel of Record
